                           No. 24-60013


       IN THE UNITED STATES COURT OF APPEALS
                FOR THE FIFTH CIRCUIT
         –––––––––––––––––––––––––––––––––––––––––––––
      NATIONAL AUTOMOBILE DEALERS ASSOCIATION;
       TEXAS AUTOMOBILE DEALERS ASSOCIATION,
                     Petitioners,
                                v.
                  FEDERAL TRADE COMMISSION,
                          Respondent.

         –––––––––––––––––––––––––––––––––––––––––––––
           On Petition for Review of a Final Rule of the
                   Federal Trade Commission
         –––––––––––––––––––––––––––––––––––––––––––––
      BRIEF OF THE FEDERAL TRADE COMMISSION
         –––––––––––––––––––––––––––––––––––––––––––––



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          STATEMENT REGARDING ORAL ARGUMENT

     The Federal Trade Commission believes oral argument would

assist the Court in resolving this case.
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      This Brief uses the following abbreviations:

ANPRM             Advance Notice of Proposed Rulemaking

APA               Administrative Procedure Act

Br.               Petitioners’ Opening Brief

CARS Rule         Combating Auto Retail Scams Trade Regulation
                  Rule, 89 Fed. Reg. 590 (Jan. 4, 2024) (to be codified at
                  16 C.F.R. Part 463).

CFPB              Consumer Financial Protection Bureau

CLA               Consumer Leasing Act

Dodd-Frank        Dodd-Frank Wall Street Reform and Consumer
                  Protection Act

FTC               Federal Trade Commission

FTC Act           Federal Trade Commission Act

NADA              National Automobile Dealers Association

NPRM              Notice of Proposed Rulemaking

R.                Record

SEC               Securities and Exchange Commission

TADA              Texas Automobile Dealers Association

TILA              Truth in Lending Act




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                           INTRODUCTION

     Cars are an essential feature of modern-day life for many

Americans, who use them for work, school, childcare, groceries, medical

visits, and more. In some parts of the United States, it is hard to live

without a car. Cars are also one of the most expensive purchases many

Americans will ever make. Unfortunately, the process of buying or

leasing a car is time-consuming, complicated, and opaque. It typically

takes consumers several hours to wrest true pricing information from

dealers and more time to wade through voluminous paperwork and

dense fine print. Unscrupulous dealers have long taken advantage of

consumers during this process through a variety of unfair or deceptive

practices. And dealers who take a more honest tack face serious

competitive headwinds.

     Acting with specific authorization from Congress, the Federal

Trade Commission issued the Combating Auto Retail Scams Trade

Regulation Rule (“CARS Rule”) to curb some of the most common

unlawful practices used by dishonest dealers: bait-and-switch tactics,

hidden fees, and “junk” fees for add-on products or services that provide

no benefit (like duplicative warranties and oil change services for
electric cars). Specifically, the Rule (1) prohibits material

misrepresentations about key transaction terms; (2) requires certain

affirmative disclosures; (3) prohibits add-ons that provide no benefit;

and (4) prohibits charges for any item without the customer’s express,

informed consent. The Rule requires no additional paperwork from

consumers and imposes minimal burdens on dealers; dealers must keep

records to demonstrate compliance but can do so the same way they

already keep records in the ordinary course of business.

      Petitioners, the National Automobile Dealers Association and the

Texas Automobile Dealers Association (collectively, “NADA”), challenge

the Rule under the Administrative Procedure Act (“APA”). NADA’s

challenges lack merit and the petition for review should be denied.

     Although NADA argues that the Rule is invalid because the

Commission did not publish an advance notice of proposed rulemaking

(“ANPRM”), NADA admits that Congress gave the Commission clear

statutory authority to prescribe rules respecting unfair or deceptive acts

or practices by motor vehicle dealers without an ANPRM. The

Commission’s rules do not require an ANPRM in these circumstances,




                                      2
and in any event NADA has not shown any prejudice from the lack of

an ANPRM.

     NADA’s other arguments are equally meritless. The Commission

amply documented the factual basis for the Rule and explained why it

was needed, which is all the APA requires. The Commission was not

required either to find that misconduct among automobile dealers was

widespread or to identify a specific regulatory gap that the Rule would

fill. As for NADA’s challenge to the Commission’s cost-benefit analysis,

Section 22(c) of the FTC Act expressly bars judicial review of that

analysis, see 15 U.S.C. § 57b-3(c), and NADA’s attacks on the analysis

are baseless anyway.

                           JURISDICTION

     The Commission was authorized to issue the CARS Rule under

12 U.S.C. § 5519(d). The Rule was published in the Federal Register on

January 4, 2024; NADA filed its petition for review the same day. This

Court has jurisdiction to review the Rule under 15 U.S.C. § 57a(e), but

15 U.S.C. § 57b-3(c) bars review of the Commission’s final regulatory

analysis.




                                    3
                      QUESTIONS PRESENTED

     1.    Whether the Commission was required to publish an

ANPRM despite Congress having exempted the Commission from that

requirement.

     2.    Whether the Commission was required to find either that

misconduct by automobile dealers is widespread or that the Rule was

needed to fill a specific regulatory gap, even though the APA imposes no

such requirements and Congress specifically authorized the

Commission to regulate automobile dealers without imposing such

preconditions.

     3.    Whether Section 22(c) of the FTC Act bars judicial review of

the Commission’s cost-benefit analysis.

                     STATEMENT OF THE CASE

A.   Statutory Authority

     In 2010, Congress enacted the Dodd-Frank Wall Street Reform

and Consumer Protection Act (“Dodd-Frank”), which among other

things created the Consumer Financial Protection Bureau (“CFPB”).

See 12 U.S.C. § 5491. Congress exempted most motor vehicle dealers

from the CFPB’s jurisdiction, see id. § 5519(a), but it recognized that

further regulation of this industry might be needed. Accordingly, Dodd-


                                    4
Frank authorized the FTC to “prescribe rules under sections 5 and

18(a)(1)(B) of the Federal Trade Commission Act” with respect to motor

vehicle dealers. 12 U.S.C. § 5519(d). 1 Section 5 of the FTC Act outlaws

unfair or deceptive acts or practices, 15 U.S.C. § 45(a), while Section

18(a)(1)(B) authorizes the Commission to prescribe rules to “define with

specificity acts or practices which are unfair or deceptive” and prescribe

requirements “for the purpose of preventing such acts or practices,” id.

§ 57a(a)(1)(B).

      The Commission uses two different sets of procedures for

promulgating rules. See 16 C.F.R. ch. I, subch. A, pt. 1, subpts. B and C.

Which set applies in any particular rulemaking turns on the authority

granted by Congress. For all rulemakings, the Commission must

provide notice and an opportunity to comment, as required by the APA.

See 5 U.S.C. § 553. And when issuing rules to define unfair or deceptive

acts or practices under Section 18(a)(1)(B), the Commission generally

must follow additional procedures—unless Congress specifies otherwise,

as it did here. These additional procedures (known as the “Magnuson-


 1 Quotations from statutes are to the language enacted by Congress rather than

codified in the U.S. Code (i.e., they refer to FTC Act section numbers rather than
the corresponding U.S. Code section numbers).


                                          5
Moss” procedures, after the statute that added Section 18 to the FTC

Act) require the Commission, among other things, to (1) publish an

ANPRM at the start of the rulemaking process; (2) find that the unfair

or deceptive acts or practices at issue are “prevalent”; and (3) provide

interested parties an opportunity for an informal hearing. 15 U.S.C.

§ 57a(b); see also See 16 C.F.R. ch. I, subch. A, pt. 1, subpt. B. No such

requirements exist in standard APA rulemaking.

     As relevant here, Dodd-Frank authorized the Commission to issue

rules respecting motor vehicle dealers “under” Section 18(a)(1)(B), but it

specified that “[n]otwithstanding section 18 of the [FTC] Act,” the

Commission should issue such rules “in accordance with section 553 of

title 5, United States Code.” 12 U.S.C. § 5519. In other words, Congress

authorized the Commission to issue rules defining “unfair or deceptive

acts or practices” by motor vehicle dealers, see 15 U.S.C. § 57a(a)(1)(B),

but directed it to do so using regular APA procedures, not the extra

Magnuson-Moss procedures—including an ANPRM—that ordinarily

apply to Section 18(a)(1)(B) rulemakings. NADA concedes that this

language exempted the Commission from the statutory ANPRM

requirement. Br. 19, 20.



                                     6
B.   Commission Action Prior to Rulemaking.

     Shortly after Dodd-Frank was enacted, the Commission held three

public roundtables to explore consumer protection issues related to

motor vehicle sales, including what issues could be addressed in a

possible rulemaking. 76 Fed. Reg. 14,014 (Mar. 15, 2011) (R. 1).

Participants included industry representatives (including NADA’s

general counsel), military servicemembers, regulators, and consumer

advocates. The Commission also received and reviewed over 100 filed

comments, including comments from NADA. R. 2-5; Comment No. FTC-

2022-0036-0034 (NADA); see also, e.g., Comment No. FTC-2022-0036-

0124 (State AGs). Although the roundtables and comments revealed a

host of practices that harmed consumers and law-abiding dealers, the

Commission initially chose to address these problems through case-by-

case enforcement and issuance of business guidance rather than

rulemaking. CARS Rule, 89 Fed. Reg. 590, 591 (Jan. 4, 2024) (R. 322.)

     Over the next few years, the Commission and its law enforcement

partners at the federal and state level took numerous steps to try to

curb unfair or deceptive practices by motor vehicle dealers. Among

other things, the Commission brought dozens of actions against motor



                                    7
vehicle dealers, led federal and state officials in two nationwide law

enforcement sweeps (one involving 181 separate enforcement actions),

published two reports on consumer vehicle purchasing experiences, and

held workshops with various stakeholders to discuss the motor vehicle

marketplace. 89 Fed. Reg. at 598 & nn.88-90. 2

        Despite these efforts, unfair or deceptive practices persisted,

especially bait-and-switch tactics—where dealers try to get customers

in the door by advertising prices, discounts, or other terms that are not

actually available to typical consumers—and hidden or junk fees, which

are charged without customers’ knowledge, under false pretenses, or for

add-on products or services that provide no benefit. Id. at 600. And

those practices sparked numerous consumer complaints. In each of the

four years leading up to the CARS Rule, the FTC received more than

100,000 complaints about motor vehicle dealers; the industry was also

consistently at or near the top of private sources of consumer

complaints. Id. at 594. In addition, complaints about motor vehicle

transactions are regularly in the top ten complaint categories tracked in

the FTC’s Consumer Sentinel database, which includes complaints from


 2
     See also, e.g., R. 15, 21, 29, 42, 51, 52, 61, 64, 95, 97, 109.


                                               8
federal agencies, states, Better Business Bureaus, and some businesses.

Id. 3

        And consumer complaints are just the tip of the iceberg. Most

consumers subjected to these unlawful practices may not even realize

they were deceived, and only a fraction of those who know they have

been victimized lodge complaints. Id. at 658. Investigation often reveals

additional victims. For example, in 2020, the Commission filed an

enforcement action against a large multistate dealership after receiving

391 complaints about add-ons and other issues. But a later survey

showed that some 83% of the dealer’s customers—more than 16,000

people—were subject to unlawful practices regarding add-ons alone. Id.

at 594.

        Although tactics like bait-and-switch advertising and hidden or

junk fees affect all consumers, those serving in America’s military are

often particularly vulnerable to these predatory practices—a concern

that Congress expressly recognized in Dodd-Frank, see 12 U.S.C.



  3 NADA cites the Commission’s 2011 statement that dealers were in “broad

compliance” with the FTC’s Holder Rule (which requires certain provisions in
consumer financing contracts), Br. 4, but that had nothing to do with consumer
experience, satisfaction, or deceptive practices like bait-and-switch advertising or
hidden fees.


                                          9
§ 5519(e). Servicemembers generally require private vehicles for

transportation while living on military bases, 89 Fed. Reg. at 592, and

hidden fees for add-on products or services have been a particular

concern in the military community. Id. at 595. Overall, auto-related

complaints consistently rank among the top ten complaint categories

outside of identity theft for military consumers. Id. at 594.

C.   The Notice of Proposed Rulemaking and Comments on the
     Proposed Rule

     In light of all this evidence, the Commission determined that a

rulemaking under Dodd-Frank was necessary to address unfair or

deceptive practices by motor vehicle dealers. The Commission published

a notice of proposed rulemaking in 2022. See 87 Fed. Reg. 42,012 (July

13, 2022) (R. 142.) It received more than 27,000 comments, reflecting a

wide range of viewpoints from numerous stakeholders, including

civilian and military consumers, dealerships, industry associations,

community and consumer groups, states, lawmakers, and law

enforcement agencies. 89 Fed. Reg. at 591-92.

     Numerous consumers described deceptive pricing and hidden fee

practices they experienced during recent car purchases. See id. at 597-

98, 610, 629-30. One recounted spending “five hours at the dealership”


                                    10
in 2022 before “discover[ing]” that “the dealer had added on a $3,000

market adjustment and $3,100 in other add-ons,” with the result that

the consumer had to take time off from work “to find a new vehicle at a

price within [the family’s] budget.” Id. at 598 (quoting Comment No.

FTC-2022-0046-0001).4 Another recalled “having to drive 3 hours” to get

the vehicle they “wanted,” and being told upon arrival there was a

$4,300 increase over MSRP. Id. at 597 (quoting Comment No. FTC-

2022-0046-1878).

      Many similar comments came from current or former military

servicemembers. A former Marine described being “taken advantage of

by a dealership when purchasing my first car,” which “set me back

financially for years” and stated that he knew many young military

members in similar situations. Id. at 597 (quoting Comment No. FTC-

2022-0046-4648). Another former servicemember labeled “absurd” the

number of “scams and horror stories” he had “heard regarding young

service members buying cars.” Id. at 591-92 n.11 (quoting Comment No.

FTC-2022-0046-0542). An active military member and combat veteran


 4
   All comments in response to the NPRM are included in R. 145, and the online
docket can be found at https://www.regulations.gov/document/FTC-2022-0046-
0001/comment.


                                       11
said he could not “list the number of times I have either seen, or have

stepped in a situation, where car dealers have either attempted to take,

or have successfully taken, advantage of a young military member or

their family by baiting and switching when it came to the price of a car,

or stated that the price was one amount, only to be charged, and over-

charged a higher amount.” Id. (quoting Comment No. FTC-2022-0046-

9840).

     The proposed rule also garnered support from several current and

former dealers and dealership employees. A “family run ‘mom and pop’

dealer” commented that “[o]verwhelmingly, automotive dealership

advertising is ridiculously deceptive” and “a contest of which dealership

can effectively lie the best.” 5 One former dealer stated that the Rule has

been needed “for a very long time” to address the “massive deceptive

and unethical business practices that are currently taking place in the

car industry,” and that it “will only help good dealers and clean up the

industry by exposing the bad apples who are a stain on the car industry

and should be driven out ASAP.” 6 Dealers expressed concern that the



 5 Comment No. FTC-2022-0046-0003.

 6 Comment No. FTC-2022-0046-6852.




                                     12
abusive practices by unscrupulous dealers placed them at a competitive

disadvantage and indicated that adoption of the proposed rule would

help level the playing field. 7

       The Commission also received comments critical of the proposed

rule. Some dealers and industry groups argued there was no need for a

rule at all and that particular provisions of the proposal would be

unduly burdensome. NADA submitted 140 single-spaced pages of

comments plus 224 pages of attachments. 8 TADA submitted another 48

single-spaced pages with 53 pages of attachments. 9

D.     The Final Rule

       After carefully considering each of the comments and making

revisions to the proposed rule in response—including changes that

narrowed its scope and eliminated paperwork requirements—the




 7 See Comment No. FTC-2022-0046-2323 (Comment from “a licensed motor

vehicle dealer” complaining that certain “practices … make it harder for honest
dealers to compete with bait and switch specialists”).
 8
     Comment No. FTC-2022-0046-8368.
 9
     Comment No. FTC-2022-0046-8102.


                                        13
Commission published the final CARS Rule (to be codified at 16 C.F.R.

Part 463). 10

      1.    Background Findings

      The preamble to the Rule (also referred to as the statement of

basis and purpose) sets forth the background that prompted the

Commission to act. The Commission noted the essential role cars play

in American life and their increasing cost. 89 Fed. Reg. at 592. Vehicles

“are now many consumers’ largest expense—on a par with housing,

child care and food, and accounting for 16% of the median annual

household income before taxes.” Id. Some 81% of new motor vehicle

purchases and 35% of used vehicles are financed, and “[b]y the first

quarter of 2023, Americans had more than 107 million outstanding auto

financing accounts and owed more than $1.56 trillion thereon, making

auto finance the third-largest source of debt for U.S. consumers, and the

second largest for U.S. consumers ages 40 and over.” Id. And

servicemembers “have an average of twice as much auto debt as




 10 The Commission set July 30, 2024, as the effective date for the Rule, 89 Fed.

Reg. at 660, but postponed that date under 5 U.S.C. § 705 pending this Court’s
expedited review. See 89 Fed. Reg. 13267 (Feb. 22, 2024).


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civilians.” Id. “By the age of 24, around 20 percent of young service

members have at least $20,000 in auto debt.” Id. at 592-93.

       The Commission found that the process of buying or leasing a

vehicle was “time-consuming and arduous.” Id. at 593. “It can take

several hours or days to finalize a transaction, on top of the hours it can

take, particularly in rural areas, to drive to a dealership. Consumers

may need to take time off work or arrange childcare, and families with

a single vehicle may be forced to delay other important appointments

due to the length of the vehicle-buying or -leasing process.” Id.

       Further, the Commission found that consumers are too commonly

“confronted with chronic deceptive or unfair practices, including bait-

and-switch tactics and hidden charges.” Id. at 594. It described these

practices in detail, quoting extensively from the comments, id. at 594-

98, and recounted past efforts to address these problems through

enforcement and education. Id. at 598-600. It concluded that the

persistence of such practices warranted a rule to “address the harm

these issues inflict on consumers and on law-abiding dealers.” Id. at

600.




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      2.    The Rule’s Provisions

      As finalized, the CARS Rule has four main provisions that

specifically target bait-and-switch tactics and hidden or junk fees by

covered automobile dealers. 11

      First, the Rule spells out specific kinds of misrepresentations that

are unlawful. It prohibits a covered dealer from making material

misrepresentations about certain key facts, including the cost or terms

of purchasing, financing, or leasing a vehicle; the availability of rebates

or discounts; the availability of vehicles at an advertised price;

information about financing; whether consumer reviews are unbiased or

independent; and whether the dealer or its personnel or products have

any affiliation or connection with the United States government or the

military. 89 Fed. Reg. at 694 (16 C.F.R. § 463.3).

      Second, the Rule requires covered dealers to make disclosures

about three pieces of information: price, add-ons, and payments. Id. at

694-95 (16 C.F.R. § 463.4). Dealers must disclose the true price when

advertising or discussing a specific vehicle, monetary amount, or



 11 Although the proposed rule would have applied to motor vehicle dealers as

defined by Dodd-Frank, the Commission narrowed the scope of the Final Rule to
focus on automobile dealers. 89 Fed. Reg. at 607-08, 693-94.


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financing term, and must provide that information in their first

response to a consumer inquiry. When discussing an optional add-on,

dealers must tell the consumer it is optional. Finally, dealers must

disclose the total of all monthly payments whenever they make

representations about what the consumer will pay if all payments are

made on schedule, and must also disclose if a lower monthly payment

will increase that total.

      Third, the Rule prohibits covered dealers from charging

consumers for add-ons that confer no benefit to the consumer, such as

warranties that duplicate the manufacturer’s coverage. Id. at 695 (16

C.F.R. § 463.5(a)).

      Fourth, the Rule bars covered dealers from charging for any item

without express, informed consent from the consumer. Id. (16 C.F.R.

§ 463.5(c)).

      The Rule imposes minimal administrative burdens. Dealers must

keep records sufficient to demonstrate their compliance for 24 months,

but the Rule does not impose any special recordkeeping format. Records

may be kept in the same manner, format, or place as dealers already

use in the ordinary course of business. Id. (16 C.F.R. § 463.6). Nothing



                                   17
in the Rule requires consumers to complete any additional paperwork.

In fact, in response to comments from NADA and others, the Final Rule

eliminated provisions from the NPRM that would have required

additional forms from dealers. 12 Nor does the Rule require dealers to

use specific language or formatting when making the mandatory

disclosures. Dealers thus retain considerable flexibility in deciding how

best to comply with the Rule’s requirements.

      The Commission expects the Rule’s provisions will benefit all

American consumers, but as discussed above, its protections are

particularly important for military servicemembers and their families.

The Department of Defense has stated that “[f]or our service members

and their families a car is an essential purchase, and this CARS Rule

will help fight predatory practices that target our men and women in

uniform” and “contribute to service members’ overall economic security

and readiness.” 13 And it is not just consumers (civilian and military)




 12 See 89 Fed. Reg. at 636, 650, 658 (determining not to finalize add-on list, cash

price without optional add-ons disclosure and associated recordkeeping
requirements).
 13 Fed. Trade Comm’n, FTC Announces CARS Rule to Fight Scams in Vehicle

Shopping (Dec. 12, 2023), https://www.ftc.gov/news-events/news/press-
releases/2023/12/ftc-announces-cars-rule-fight-scams-vehicle-shopping.


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who will benefit. Curbing misconduct will benefit honest dealers by

ensuring that they can compete on a level playing field.

     3.       The Section 22 Final Regulatory Analysis

     Section 22 of the FTC Act generally requires the Commission to

issue a “final regulatory analysis” when it promulgates a final rule

under Section 18. 15 U.S.C. § 57b-3(b)(2). The analysis must contain,

among other things, “an analysis of the projected benefits and any

adverse economic effects and any other effects of the final rule.” Id.

§ 57b-3(b)(2)(C). The Commission conducted this analysis, see 89 Fed.

Reg. at 672-93, and concluded that the benefits to the public from the

CARS Rule would vastly outweigh the costs to dealers. Id. at 688. The

Commission estimated that over a 10-year period, the Rule would confer

$13.4 billion in benefits by saving consumers time while shopping for

cars and reducing the deadweight loss caused by shrouded prices,

deception, and obfuscation. Id. By contrast, the Commission estimated

that the rule would impose costs of only $1.1 billion on dealers over that

period. Id.




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                     SUMMARY OF ARGUMENT

     1.    The Commission was not required to publish an ANPRM.

Although NADA concedes that Congress exempted Dodd-Frank

rulemakings from Section 18’s ANPRM requirement, NADA argues that

the Commission’s rules of practice imposed a distinct ANPRM

requirement. That argument ignores the plain text of the relevant

Commission rules of practice, which establish that Magnuson-Moss

procedures—including the ANPRM requirement—do not apply to rules,

like the CARS Rule, issued under authority other than Section

18(a)(1)(B). NADA also ignores the history of the Commission’s internal

rules, which show that NADA’s cited regulatory provision merely

implements Section 18 and does not impose a separate mandate.

Further, NADA’s interpretation would improperly thwart the provisions

of Dodd-Frank directing the Commission to prescribe Dodd-Frank rules

through the ordinary APA process. To the extent that there is any

ambiguity, the Commission’s interpretation of its own rules is entitled

to deference under Auer v. Robbins, 519 U.S. 452 (1997), and Kisor v.

Wilkie, 139 S. Ct. 2400 (2019).




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     In any event, the omission of an ANPRM was harmless. NADA is

wrong that the Commission bears the burden of showing harmless

error. The burden is squarely on NADA to show that any error was

harmful. NADA has not met that burden because the record shows that

it had ample opportunities to participate in the regulatory process both

before and after the issuance of the NPRM and took full advantage of

those opportunities. NADA has not identified any information it was

unable to bring to the Commission’s attention or pointed to anything it

would have done differently if an ANPRM had been issued.

     2.    NADA is also wrong that the Commission was required to

find widespread misconduct and a regulatory gap as a precondition to

rulemaking. Although Section 18 requires the Commission to find that

misconduct is “prevalent” in a Magnuson-Moss rulemaking, Dodd-

Frank exempted the Commission from that requirement here—and

NADA does not argue otherwise. Congress authorized the Commission

to prescribe rules respecting motor vehicle dealers even though it knew

they were already subject to other regulatory schemes and the FTC

Act’s general prohibition of unfair or deceptive acts or practices. It did




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not say the Commission needed to identify a regulatory gap before

issuing such rules.

     Under the APA, the Commission merely needed to show a rational

connection between the facts found and the decision made. It easily

satisfied that deferential standard here by showing that unfair or

deceptive practices by automobile dealers—specifically bait-and-switch

tactics and hidden or junk fees—remain a serious and persistent

problem despite more than a decade of enforcement efforts and business

and consumer education.

      3.   The Court lacks jurisdiction to consider NADA’s attacks on

the Commission’s cost-benefit analysis. Section 22 of the FTC Act

expressly bars judicial review of the contents or adequacy of the cost-

benefit analysis and precludes the court from setting aside the Rule or

remanding on account of any alleged errors in that analysis.

     In any event, NADA has not shown any error in the cost-benefit

analysis—much less one that could have affected the outcome, given the

vast disparity between the Rule’s estimated benefits to society ($13.4

billion over ten years) and the cost to dealers ($1.1 billion over the same

period). And another part of the Commission’s analysis—which NADA



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does not challenge—shows that even if some of the Commission’s

assumptions were off by an order of magnitude, the end result would be

the same. Finally, there is no basis to remand for consideration of

additional evidence. The Commission already addressed the only

additional evidence NADA cites and found that evidence unreliable.

                       STANDARD OF REVIEW

     The Rule is subject to review under 5 U.S.C. §706(2)(A)-(D). See 15

U.S.C. § 57a(e)(3).

                              ARGUMENT

I.   THE COMMISSION WAS NOT REQUIRED TO PROVIDE ADVANCE
     NOTICE BEFORE PROPOSING THE CARS RULE.

     Contrary to NADA’s argument, the Commission was not required

to publish an advance notice of proposed rulemaking. NADA concedes

that Dodd-Frank exempted the Commission from Section 18’s statutory

ANPRM requirement (Br. 20) but argues that the Commission’s rules of

practice create an independent obligation to publish an ANPRM. Br. 17-

23. In other words, NADA claims that the Commission imposed on itself

an obligation to publish an ANPRM even where Congress said not to.

This argument fails for three reasons. First, it is contrary to the plain

text of the relevant Commission rules and would thwart Congress’s



                                    23
directive that the Commission should issue Dodd-Frank rules through

the ordinary APA procedure. Second, even if there were some ambiguity

in the Commission’s rules, the Commission’s interpretation of those

rules is entitled to deference. Finally, even if an ANPRM were required,

NADA has not shown any prejudice from its omission.

     A.    The Commission’s Rules Did Not Require Publication
           of an Advance Notice of Proposed Rulemaking.

     The plain language of the Commission’s rules of practice makes

clear that the Commission was not required to publish an ANPRM. This

Court “interpret[s] regulations in the same manner as statutes, looking

first to the regulation’s plain language” and going no further where that

language is unambiguous. Anthony v. United States, 520 F.3d 374, 380

(5th Cir. 2008). A regulation “should be interpreted in a manner that

effectuates its central purposes” and does not “thwart the statutory

mandate it was designed to implement.” Id.; see also Lara v. Cinemark

USA, Inc., 207 F.3d 783, 787 (5th Cir. 2000) (rejecting interpretation

that “would contravene the very purpose of the regulation and

[statute]”). Moreover, a regulation must be read “as a whole, with the

assumption that … each of [its] terms … convey[s] meaning,” Cinemark,




                                   24
207 F.3d at 787, and considering each phrase “in context,” Anthony, 584

F.3d at 380.

      The Commission’s rules of practice describe two different kinds of

rulemaking proceedings, which are set forth in subparts B and C of 16

C.F.R. ch. I, subch. A, pt. 1. The subpart B rules implement the

procedures Congress established for Magnuson-Moss rulemakings, i.e.,

Section 18(a)(1)(B) rulemakings undertaken without other

authorization from Congress. 15 U.S.C. § 57a(b)(1). Accordingly,

subpart B contains a section that implements the ANPRM requirement.

See 16 C.F.R. § 1.10. The subpart C rules apply to all other rulemaking

proceedings, i.e., APA rulemakings, and do not require an ANPRM. See

id. §§ 1.21, 1.26.

      The Commission properly determined that the CARS rulemaking

proceeding was governed by subpart C, not subpart B. 89 Fed. Reg. 601

n.115. This is evident from § 1.21, which defines the scope of subpart C.

It states that “[t]his subpart sets forth procedures for the promulgation

of rules under authority other than section 18(a)(1)(B) of the FTC Act.”

16 C.F.R. § 1.21 (emphasis added). The CARS Rule was promulgated

under the authority of Dodd-Frank, as both the preamble and the



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authority provision of the Rule (§ 463.1) make clear. See 89 Fed. Reg. at

591, 693. Because Dodd-Frank is an “authority other than section

18(a)(1)(B),” subpart C plainly applied.

     The scope provision of subpart B confirms this conclusion. Section

1.7 provides that “[t]he rules in” subpart B will “apply to and govern

proceedings for the promulgation of rules as provided in section

18(a)(1)(B) of the [FTC] Act” and that “[a]ll other rulemaking

proceedings will be governed by the rules in subpart C.” 16 C.F.R. § 1.7.

Section 18(a)(1)(B) does not itself specify procedures for the

promulgation of rules, but Section 18(b) sets forth procedures (including

the ANPRM requirement) that apply “[w]hen prescribing a rule under

subsection (a)(1)(B).” 15 U.S.C. § 57a(b)(1). Thus, the most natural

reading of § 1.7 is that the subpart B rules apply to proceedings for the

promulgation of rules in the manner that Congress provided for

ordinary Section 18(a)(1)(B) rulemakings—i.e., rules that must be

promulgated using the procedures in Section 18(b).

     Notably, § 1.7 does not say that subpart B applies to any rule

“under” Section 18(a)(1)(B); it focuses instead on rules that Congress

required to be promulgated using the Magnuson-Moss procedures.



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Here, in this Dodd-Frank rulemaking, Congress directed the

Commission to prescribe rules under Section 18(a)(1)(B) but to do so

through regular APA procedures “[n]otwithstanding section 18 of the

[FTC] Act.” 12 U.S.C. § 5519. In other words, Congress told the

Commission not to use the procedures that ordinarily apply to a section

18(a)(1)(B) rulemaking. Accordingly, this rulemaking proceeding was

not one for “the promulgation of rules as provided in section

18(a)(1)(B),” and subpart B did not apply.

     NADA’s contrary arguments (Br. 17-23) ignore the text of § 1.7

and § 1.21 and would lead to the absurd result of requiring the

Commission to comply with the very procedures that Congress

dispensed with. NADA focuses on § 1.10, which says that an ANPRM

must be published “[p]rior to the commencement of any trade regulation

rule proceeding.” 16 C.F.R. § 1.10. But § 1.10 is part of subpart B, and

the plain text of § 1.7 and § 1.21 makes clear that this rulemaking was

governed by subpart C.

     NADA notes that the Commission described the CARS Rule as a

“trade regulation rule,” Br. 18, but that description has no bearing on

whether an ANPRM was required. Although § 1.7 says that rules



                                    27
“promulgat[ed] … as provided in section 18(a)(1)(B) … will be known as

trade regulation rules,” 16 C.F.R. § 1.7, it does not say that only those

rules will be called “trade regulation rules.” In fact, the Commission

was describing some of its rules as “trade regulation rules” more than a

decade before the enactment of Section 18. 14 And even after the

enactment of Section 18, the Commission continues to describe some

rules that were not promulgated using the Magnuson-Moss procedures

as “trade regulation rules.” For example, in the Telephone Disclosure

and Dispute Resolution Act of 1992, Congress gave the Commission

rulemaking authority in language very similar to that in Dodd-Frank; it

told the Commission to prescribe rules by APA rulemaking but specified

that such a rule would be “treated as a rule under section 18(a)(1)(B).”

15 U.S.C. § 5711(a)(8), (b). The Commission issued the rules without an

ANPRM, but still called them a “trade regulation rule,” just as it did in

this case. See 58 Fed. Reg. 42,364 (Aug. 9, 1993).

      NADA’s argument that § 1.10 creates a distinct regulatory

ANPRM requirement untethered to the Commission’s statutory



 14 See, e.g., 29 Fed. Reg. 8,324 (July 2, 1964) (adopting trade regulation rule

regulating cigarette advertising).


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authority is also at odds with the regulation’s purpose as reflected in its

history. Congress added the ANPRM requirement to Section 18 in 1980.

See Pub L. No. 96-252, § 8, 94 Stat. 374, 376 (May 28, 1980). The

following year, the Commission adopted or amended various rules to

implement the changes to the Commission’s authority made by the 1980

Act. See 46 Fed. Reg. 26,284, 26,288 (May 12, 1981). The Commission

noted that the Act “amends section 18 of the FTC Act by requiring the

publication of an [ANPRM] prior to the commencement of a rulemaking

proceeding,” and that amendments to § 1.10 and other rules “implement

those sections.” Id. at 26,286. Thus, the Commission plainly did not

intend to create a regulatory ANPRM requirement distinct from the

statutory requirement—it was merely implementing the new

requirement imposed by Congress.

     Nor do the FTC’s revisions to its subpart B regulations in 2021

suggest that it was imposing a regulatory ANPRM requirement

separate and distinct from the statutory requirement. The 2021

amendment merely made cosmetic changes, e.g., changing “shall” to

“must” and updating the name of the House of Representatives

committee to which ANPRMs are submitted. See 86 Fed. Reg. 38,542,



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38,545 (July 22, 2021). NADA suggests that the Commission could have

included a specific carveout in § 1.10 to reflect that the ANPRM

requirement does not apply to rulemakings to regulate motor vehicle

dealers as authorized by Dodd-Frank. Br. 21. But the Commission had

no reason to do so because, as shown above, the scope provisions for

subparts B and C (§§ 1.7 and 1.21) already make clear that the subpart

B provisions would not apply to a rulemaking under the authority of

Dodd-Frank.

     NADA is not aided by its reliance (Br. 21) on McGavock v. City of

Water Valley, 452 F.3d 423 (5th Cir. 2006). In McGavock, the Court held

that a Department of Labor regulation was “obsolete and without effect”

in light of a subsequent Congressional enactment. Id. at 428. Here, to

the extent § 1.7 would otherwise have required the Commission to

follow the subpart B rules, Dodd-Frank made that requirement obsolete

for rulemakings respecting motor vehicle dealers.

     The overarching problem with NADA’s reading of the

Commission’s rules is that it would effectively thwart a key provision of

Dodd-Frank. The relevant Commission rules—§§ 1.7, 1.10, and 1.21—

all existed in substantially the same form that they do today when



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Congress enacted Dodd-Frank. NADA admits that Dodd-Frank

intentionally exempted the Commission from the ANPRM requirement.

Yet according to NADA, that exemption was inoperable the day it was

enacted and remains inoperable to this day due to preexisting

Commission regulations. The Commission’s rules, however, are

designed to implement Congress’s instructions. Congress gave the

Commission a clear directive to use regular APA procedures—which do

not require an ANPRM—when prescribing rules under Dodd-Frank.

The Commission’s rules of practice must be construed consistent with

that mandate.

     B.    To the Extent the Commission’s Rules of Practice Are
           Ambiguous, the Court Must Defer to the Commission’s
           Reasonable Interpretation.

     To the extent the Court finds any ambiguity in the Commission’s

rules of practice, it must defer to the Commission’s interpretation.

Under Auer v. Robbins, 519 U.S. 452 (1997), an agency’s interpretation

of its own regulations is “controlling unless plainly erroneous or

inconsistent with the regulation.” Id. at 461 (cleaned up). In Kisor v.

Wilkie, 139 S. Ct. 2400 (2019), the Supreme Court reaffirmed Auer and

explained in more detail when deference is appropriate. First, the



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agency’s regulation must be “genuinely ambiguous” after a court has

“exhaust[ed] all the ‘traditional tools’ of construction,” including

construction of the “text, structure, history, and purpose of [the]

regulation.” Id. at 2415. Second, the agency’s interpretation must be

“reasonable,” i.e., within “the zone of ambiguity the court has identified

after employing all its interpretive tools.” Id. at 2415-16. Additionally,

the interpretation must be “one actually made by the agency,” id. at

2416, must “implicate its substantive expertise,” id. at 2417, and must

reflect the agency’s “fair and considered judgment,” id.

     Here, the text of the relevant rules (§ 1.7 and § 1.21) plainly

supports the Commission’s reading, but if the Court concludes

otherwise, the Commission’s interpretation is sufficiently plausible to

show a genuine ambiguity. Further, the Commission’s interpretation is

reasonable because it gives effect to Congress’s intent as set forth in

Dodd-Frank, rather than thwarting that intent as NADA’s

interpretation would.

     The “character and context” of the Commission’s interpretation

also show that the interpretation is entitled to controlling weight. Kisor,

139 S. Ct. at 2416. First, in response to NADA’s comments, the



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Commission itself actually made the determination that its rules did

not require an ANPRM as part of the Rule. See 89 Fed. Reg. at 601

n.115. Second, the Commission’s interpretation implicates its

substantive expertise. Kisor explains that this factor asks whether “the

subject matter of the dispute is distant from the agency’s ordinary

duties or falls within the scope of another agency’s authority.” Kisor,

139 S. Ct. at 2417 (cleaned up); see also Doe v. SEC, 28 F.4th 1306, 1315

(D.C. Cir. 2022) (deferring to SEC’s interpretation of its regulations

where “no other agency [was] involved” in administering the relevant

program). Here the regulations implicate authority under Dodd-Frank

and the FTC Act that Congress explicitly assigned to the FTC and no

other agency. Finally, the Commission’s conclusion that the subpart B

regulations did not apply to this rulemaking in light of Dodd-Frank, see

89 Fed. Reg. at 601 n.115, reflects the Commission’s “fair and

considered judgment,” and is not merely a “convenient litigating

position or post hoc rationalization advanced to defend past agency

action against attack.” Kisor, 139 S. Ct at 2417 (cleaned up).

Accordingly, under Auer and Kisor, the Court should give the

Commission’s interpretation controlling weight.



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     C.    In Any Event, the Lack of an ANPRM Was Harmless.

     Even if the Commission was required to publish an ANPRM,

NADA still cannot prevail because it has not shown harm from the

alleged error. The APA instructs that on review of an agency action,

“due account shall be taken of the rule of prejudicial error.” 5 U.S.C.

§ 706; accord 15 U.S.C. § 57a(e)(3); see also United States v. Johnson,

632 F.3d 912, 930 (5th Cir. 2011) (“In administrative law, as in federal

civil and criminal litigation, there is a harmless error rule.” (quoting

Nat’l Ass’n of Home Builders v. Defenders of Wildlife. 551 U.S. 644, 659-

60 (2007))).

     In numerous cases, the Supreme Court and this Court have

recognized that an agency’s failure to provide a required notice or to

strictly comply with the agency’s regulations may be harmless. For

example, in Shinseki v. Sanders, 556 U.S. 396, 413 (2009), the Supreme

Court held that the Veterans’ Administration’s failure to provide a

disability claimant with a required notice was harmless under the

circumstances presented there. Id. Similarly, the Interstate Commerce

Commission’s failure to “require strict compliance with its own rules”

was harmless where it “did not prejudice” the carriers challenging the



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agency action. Am. Farm Lines v. Black Ball Freight Serv., 397 U.S.

532, 537-38 (1970).

      Likewise, this Court has held that the Attorney General’s failure

to provide notice and comment under the APA before promulgating an

interim rule was harmless where the preamble to the rule “thoroughly

engage[d] the issues and challenges inherent in the regulation.”

Johnson, 632 F.3d at 931. The Court explained that “when a party’s

claims were considered, even if notice was inadequate, the challenging

party may not have been prejudiced.” Id.; see also Mississippi Valley

Gas Co. v. FERC, 659 F.2d 488, 501 (5th Cir. 1981) (petitioner “made no

showing of substantial prejudice resulting from any deviation from the

Commission’s regulations,” and therefore any error was harmless where

“[t]he “issues [were] clear to all parties” and the petitioner “had an

opportunity to present its views on the issues.”). 15

      NADA is wrong that the agency has the burden of showing an

error is harmless. Br. 23. The “burden of showing that an error is


  15 NADA is incorrect in suggesting that an agency’s failure to follow its own

regulations is always fatal. See Br. 23-24 (citing IMS, P.C. v. Alvarez, 129 F.3d 618,
621 (D.C. Cir. 1997)). Indeed, in one of NADA’s cases, the D.C. Circuit held that the
Federal Aviation Administration’s failure to provide the petitioner with a required
notice of an adverse decision was harmless where the petitioner pursued his rights
anyway and showed no prejudice. Lopez v. FAA, 318 F.3d 242, 248 (D.C. Cir. 2003).


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harmful normally falls upon the party attacking the agency’s

determination.” Shinseki, 556 U.S. at 409.

     NADA fails to meet its burden. Since the 2010 enactment of Dodd-

Frank, NADA has been aware that the Commission possesses authority

to prescribe regulations to address unfair or deceptive acts or practices

by motor vehicle dealers, and NADA had plenty of opportunities to

share its views with the Commission before a rule was proposed.

Indeed, NADA has taken full advantage of those opportunities over the

years. Among other things, NADA participated in three public

roundtables and a financial workshop specifically addressing military

consumers. R. 2-4, 78. It submitted comments on the roundtables, see,

e.g., Comment No. FTC-2022-0036-0034, as well as voluminous

comments in response to the NPRM. NADA now asserts that the

Commission had “an incomplete understanding of the relevant market

and would have benefitted from greater stakeholder participation,” Br.

24, but it has not tried to show why the extensive stakeholder

opportunities the Commission provided were inadequate, nor has it




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explained what else it would have told the Commission if an ANPRM

had been issued. 16

      NADA also overstates the limited form of the notice that an

ANPRM provides. An ANPRM is not a proposed rule. It need only

contain a “brief description of the area of inquiry under consideration,

the objectives which the Commission seeks to achieve, and possible

regulatory alternatives under consideration by the Commission,” and

invite the responses of interested parties. 15 U.S.C. § 57a(b)(2)(A); 16

C.F.R. § 1.10(b)(1). All this information was in the NPRM. Furthermore,

the NPRM contained the actual text of the proposed rule—which is by

far the most important information that stakeholders need to review.

NADA argues that the lack of an ANPRM “substantially curtail[ed] [its]

ability to engage in the rulemaking process,” Br. 24, but it does not

identify any specific information it wanted to bring to the Commission’s

attention that was not or could not have been included in the detailed




 16 In a different section of its brief, NADA points to a study it submitted after the

comment deadline. That study, which addressed the costs of the proposed rule set
forth in the NPRM, could not have been submitted before the NPRM issued. And
anyway, as discussed infra at 66-67, the Commission addressed this study in the
Final Rule even though NADA’s submission was untimely.


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comments petitioners submitted on the NPRM—a combined total of 188

single-spaced pages with 277 pages of attachments.

     NADA’s complaint that the Commission provided a “mere 60 days”

for comment on the NPRM and denied a request to extend the comment

period (Br. 11-12) likewise does not show that the lack of an ANPRM

caused any prejudice. First of all, NADA has not actually argued that

the Commission abused its discretion by not extending the comment

period, so it has forfeited any challenge to that decision. See, e.g., Smith

v. Sch. Bd. of Concordia Parish, 88 F.4th 588, 594 (5th Cir. 2023). In

any event, a 60-day comment period is consistent with the best

practices recommended by the Administrative Conference of the United

States for significant regulatory actions. 17 And as the Commission

noted, interested parties actually had 80 days to prepare comments

because 20 days elapsed between the public announcement of the

NPRM and the NPRM’s publication in the Federal Register. 89 Fed.

Reg. 601 n.115. That gave NADA plenty of time to gather any

information it needed to respond to the NPRM.



 17 Administrative Conf. of the U.S., Rulemaking Comments (June 16, 2011),

https://www.acus.gov/document/rulemaking-comments.


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      NADA complains that the NPRM contained a “wide-ranging and

open-ended set of 49 questions,” and suggests that these questions could

instead have been posed as part of an ANPRM. Br. 24-25. But Section

18(b) does not require the Commission to ask any questions in an

ANPRM. See 15 U.S.C. § 57a(b)(2)(A). Nor are specific questions

required even in an NPRM. See 5 U.S.C. § 553(b). That NADA did not

have an earlier opportunity to answer questions that the Commission

was not required to pose is not a cognizable harm.

      In short, this is a case like Johnson, where the agency “thoroughly

engage[d] the issues and challenges inherent in the regulation.” 632

F.3d at 931. NADA had a full and fair opportunity to bring any

information it wanted to the Commission’s attention, and it has not

specified anything it would have done differently if the Commission had

issued an ANPRM. Any error was harmless.

II.   NADA RAISES NO MERITORIOUS CHALLENGE TO THE
      COMMISSION’S BASIS FOR ISSUING THE CARS RULE.

      NADA’s second line of attack is based on false premises. NADA

argues that the Rule is arbitrary and capricious because the

Commission did not expressly find either (1) “widespread misconduct”

or (2) a “regulatory gap” that needed to be filled. Br. 26, 30. But the


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Commission was not required to make either of those findings. The

Commission’s findings that unfair or deceptive practices by automobile

dealers are a persistent problem that the existing scheme has not

adequately addressed are more than sufficient to justify the Rule.

      A.    The Commission Was Not Required To Find
            “Widespread Misconduct.”

      The Commission was not required to find “widespread”

misconduct to justify the CARS Rule because Congress said it did not

have to. As discussed above and as NADA acknowledges, Dodd-Frank

directs the Commission to use APA procedures rather than Magnuson-

Moss rulemaking procedures when promulgating rules respecting

unfair or deceptive acts or practices by motor vehicles. And only

Magnuson-Moss procedures require the Commission to find that “the

unfair or deceptive acts or practices which are the subject of the

proposed rulemaking are prevalent.” 18 15 U.S.C. § 57a(b)(3).

      The APA does not require an agency to find a “widespread”

problem to justify issuance of a rule. To the contrary, the Supreme




 18 “Prevalent” and “widespread” are synonyms. Prevalent, Merriam-Webster

Dictionary (online ed.), https://www.merriam-webster.com/dictionary/prevalent. The
FTC Act uses both terms. See 15 U.S.C. § 57a(b)(3).


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Court has held that agencies may impose rules as “prophylactic

measure[s]” to “discourage” misconduct. Mourning v. Family Publ’ns

Serv., Inc., 411 U.S. 356, 377 (1973); see also Sid Peterson Mem’l Hosp.

v. Thompson, 274 F.3d 301, 313 (5th Cir. 2001) (“It is well within the

power of an agency to promulgate prophylactic regulations which are

broad in scope in order to effectuate the purposes of the enabling

legislation.”). Such rules help to ensure that misconduct never becomes

widespread in the first place.

     NADA does not cite a single case supporting its claim that the

Commission was required to find widespread misconduct. Motor Vehicle

Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29 (1983), which

is the seminal Supreme Court decision on the arbitrary-and-capricious

standard, imposes no such requirement. Nor does Data Marketing

Partnership, LP v. DOL, 45 F.4th 846 (5th Cir. 2022), or Business

Roundtable v. SEC, 647 F.3d 1144 (D.C. Cir 2011). The portion of Data

Marketing that NADA cites (Br. 27-28) merely reiterates the State

Farm standards. See 45 F.4th at 855-56. And Business Roundtable dealt

with statutory requirements “unique” to the SEC requiring that agency

to consider the economic implications of a new rule. 647 F.3d at 1148.



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Neither case holds that widespread misconduct is necessary to justify a

new rule.

     B.     The Commission Was Not Required To Identify a
            “Regulatory Gap” To Justify the Rule.

     NADA’s assertion that the Commission had to identify a specific

“regulatory gap” to justify the Rule likewise lacks any legal basis. In

Dodd-Frank, Congress gave the Commission broad power to prescribe

rules to define and prevent unfair or deceptive acts or practices by

motor vehicle dealers. Congress did not say that the Commission could

act only if it found a regulatory gap, nor did Congress impose any other

preconditions on the Commission’s rulemaking authority. To the

contrary, Congress gave the Commission specific rulemaking authority

in this area even though automobile dealers were already subject to

existing regulations and the FTC Act already prohibits unfair or

deceptive acts or practices. See 15 U.S.C. § 45(a).

     Nothing in the APA requires an agency to identify a “regulatory

gap” before issuing a new rule. NADA is not aided by its reliance (Br.

30-31) on N.Y. Stock Exch. LLC v. SEC, 962 F.3d 541 (D.C. Cir. 2020).

That case concerned an SEC “pilot program” that would have applied

new transaction restrictions to two randomly selected “test groups” of


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stock and assigned other stocks to a “control group” not subject to these

restrictions. Id. at 545. The program “was not a trial run of a new

regulation,” but instead was “designed to gather data so that the

Commission might be able to determine in the future whether

regulatory action was necessary.” Id. at 544 (cleaned up).

     The D.C. Circuit held that this kind of “one-off” rule “[i]n the name

of collecting data for subsequent regulatory decisions that the

Commission can neither predict nor commit to” was beyond the SEC’s

delegated authority. Id. at 545-46, 554-55 (cleaned up). In that context,

the court explained that the SEC had “adopted the Pilot Program

without any regulatory agenda” and “without explaining what problems

with the existing regulatory requirements it meant for the Rule to

correct.” Id. at 554. The court held that the SEC lacked authority to

follow “this aimless regulatory approach.” Id. at 555. The court did not

hold or even suggest that an agency may issue a regulation only after

identifying a “regulatory gap.”

     Here, the Commission is not establishing some new program that

randomly selects certain automobile dealers for disparate treatment to

gather data to determine whether future regulation is warranted.



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Rather, the Commission has already determined that regulation is

needed and has explained that determination in the course of exercising

the authority that Congress conferred in Dodd-Frank.

     The other two cases NADA references also do not impose a general

requirement that an agency identify a regulatory gap to justify a

rulemaking. See Br. 33 (citing Business Roundtable, 647 F.3d 1144 and

Am. Equity Inv. Life Ins. Co. v. SEC, 613 F.3d 166 (D.C. Cir. 2010)).

Those two cases involve statutory provisions “unique” to the SEC that

require the agency to consider the effects of a new rule on “efficiency,

competition, and capital formation.” Business Roundtable, 647 F.3d at

1148; Am. Equity, 613 F.3d at 176. Conducting such an analysis

requires the SEC to compare the changes made by the new rule to the

“existing regime.” Am. Equity, 613 F.3d at 179. That is a special

procedural requirement that Congress has imposed on the SEC but not

the FTC.

     C.    The Commission Articulated a Reasoned
           Basis for the CARS Rule.

     The Commission’s factual findings are more than sufficient to

satisfy judicial review. APA arbitrary-and-capricious review “is narrow

and a court is not to substitute its judgment for that of the agency.”


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State Farm, 463 U.S. at 43. The question for the Court is simply

“whether the decision was based on a consideration of the relevant

factors and whether there has been a clear error of judgment.” Id. The

Commission’s decision to issue the CARS Rule easily satisfies this

deferential standard.

     The Commission’s factual findings amply document that unfair or

deceptive practices by auto dealers, including bait-and-switch

advertising and hidden or junk fees, are serious problems that cause

significant harm to American consumers. 89 Fed. Reg. at 594-98. These

problems have persisted for well over a decade, notwithstanding efforts

by the Commission and its law enforcement partners to address them

through case-by-case enforcement and business and consumer

education. See, e.g., id. at 598-600; supra n.2; R. 141, 151, 154, 155.

Under these circumstances, the Commission reasonably determined

that it was appropriate to use the specific authority granted by

Congress to prescribe rules to curb this serious and persistent problem.

     None of NADA’s various attacks on the factual basis for the Rule

has merit.




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      1.    NADA wrongly claims (Br. 27) that “the conduct addressed

by the Rule affects less than 1% of transactions,” mischaracterizing a

comment from the Small Business Administration’s Office of Advocacy

that less than 1% of car-buying consumers reported a problem to the

FTC. Comment No. FTC-2022-0046-6664 at 6. See 89 Fed. Reg. at 594.

But as the Commission explained, the number of consumers who go to

the trouble of reporting a problem is “just the tip of the iceberg.” Id. The

Commission’s experience in enforcement actions shows that many other

consumers experience the same problems but do not bother to report

them—or, for example in the case of hidden charges, may not even

realize they are being victimized. Id. at 594, 658. And the absolute

number of auto-related complaints to the Commission is large: The

Commission receives more than 100,000 such complaints a year,

putting auto-related complaints regularly in the top 10 categories of

complaints that the agency tracks. 19



 19 Although the FTC does not verify every complaint it receives, it views the

number of such complaints as providing important information about the
comparative scope of consumer issues and harm, and uses this information to spot
trends, identify questionable business practices and targets, enforce the law, and
inform other agency decisions. Here, the number of complaints is indicative of
serious problems regarding motor vehicle sales, financing, service and warranties,
and rentals and leasing.


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     NADA’s argument that the Commission “vastly inflated” the

number of consumer complaints about auto dealers (Br. 29) is also

incorrect. NADA argues that some of the auto related categories listed

in the Commission’s database involve categories “with little or no

connection to the Rule,” such as “Gasoline” or “Auto Parts & Repairs.”

Br. 29. But the numbers reported in the Rule do not include all these

categories; they reflect only “complaints regarding motor vehicle sales,

financing, service and warranties, and rentals and leasing.” 89 Fed.

Reg. at 594. The overwhelming majority of these complaints involve

new and used auto sales. R. 153 at 85. NADA speculates that some of

the complaints may involve non-dealer entities, but it has raised no

basis to question that the majority of them do involve dealers. The

sheer number of complaints, combined with the rest of the FTC’s

evidence, strongly supports the Commission’s conclusion that

regulatory action is needed.

      2.   NADA attempts to minimize the extent of dealer misconduct

by arguing that the NPRM cited “just” 37 examples of FTC enforcement

actions against automobile dealers and the Final Rule added “just” two




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additional actions. Br. 28. 20 NADA argues that this works out to fewer

than four enforcement actions by the FTC per year. But four cases a

year against one type of entity (auto dealers) in one specific industry

represents a significant commitment of resources by an agency

responsible for preventing unfair or deceptive acts or practices across

most of the American economy. That the Commission has needed to use

its limited enforcement resources to bring such cases consistently, over

more than a decade, underscores the severity and persistence of

misconduct in the industry.

      Further adding to the picture, state regulators and attorneys

general have participated in law enforcement sweeps with the FTC—

one of which involved 181 separate enforcement actions—and have also

filed actions on their own against motor vehicle dealers. 89 Fed. Reg. at

598-99 & n.89, 92. Indeed, the Attorneys General of 18 States

commented that “the continued widespread” misconduct in the industry

“demonstrates the need for ‘more cops on the beat’ with authority to




 20 NADA notes that some of the auto-related enforcement actions cited in the

NPRM were not brought against dealers. The Commission cited a broad range of
auto-related actions to demonstrate the breadth of its experience in this field.


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secure restitution and other redress for harmed consumers.” Comment

No. FTC-2022-0046-8062 at 4. NADA ignores all this evidence.

      3.       NADA complains that the Commission cited consumer

interviews from a qualitative study that NADA deems insufficiently

rigorous. Br. 28-29. The Commission acknowledged industry critiques of

this study but concluded that despite its limitations the study “provides

helpful qualitative insight from consumer interviews.” 89 Fed. Reg. at

597 n.74. In any event, the study was only “one of the many sources”

the Commission considered. Id. The Commission did not act arbitrarily

and capriciously by considering qualitative insights from the study in

conjunction with other evidence, “including consumer complaints,

enforcement actions, [and] outreach and dialogue with stakeholders and

consumer groups, among others.” Id.

      4.       NADA is also incorrect in arguing (Br. 31-32) that the CARS

Rule’s disclosure requirements are merely “duplicative” of existing

regulatory requirements. 21 NADA argues that regulations under the

Truth in Lending Act (“TILA”) and the Consumer Leasing Act (“CLA”)



 21 NADA does not contend that the Rule’s add-on disclosure (§ 463.4(c)) is

duplicative.


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already require disclosure of a vehicle’s price and the total of payments.

Br. 31; see 12 C.F.R. § § 213.4(e), 226.18(h), (j). 22 But those regulations

apply only to financed or leased transactions, whereas the CARS Rule

also applies to cash purchases. Furthermore, even with respect to

financed and leased transactions, the CARS Rule requires different

timing for the disclosures, as NADA concedes. Br. 31. The TILA and

CLA regulations (which apply broadly to many kinds of transactions,

not just car financing or leases) require, among other things, certain

disclosures before “consummation” of a transaction. 12 C.F.R.

§§ 213.3(a)(3), 226.17(b). By contrast, the CARS Rule requires earlier

disclosures. For instance, dealers must include the offering price in

advertisements for specific vehicles and in their first communication

with a customer about a specific vehicle, and they must disclose the

total of payments whenever they make a representation about a

monthly payment for a vehicle. See 89 Fed. Reg. at 694-95 (§ 463.4(a),

(d)).




  22 NADA mistakenly refers to the TILA regulations issued by the CFPB, but those

regulations do not apply to motor vehicle dealers. See 12 C.F.R. § 1026.1(c)(1). The
applicable TILA regulations are issued by the Board of Governors of the Federal
Reserve. See 12 C.F.R. Part 226.


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      The Commission clearly explained why up-front disclosures are

important. The process of buying or leasing a car is “time-consuming

and arduous.” Id. at 593. One study cited found that the average

consumer spends almost 15 hours shopping for a vehicle. Id. at 634.

n.303. Currently, many consumers do not learn the actual out-the-door

price of their vehicle or the total amount they will pay for a financed or

leased transaction until the very end of the process. This lack of

transparency fosters the bait-and-switch tactics and addition of junk or

hidden fees that the Rule seeks to prevent. For these reasons, many

commenters called for uniform, comprehensive, and accurate price

information up-front in the vehicle buying process. 23 As one group of

commenters asserted, “[t]he most important factor for consumers

purchasing a vehicle is its price, yet the price is almost impossible to

ascertain without spending hours at the dealership.” 24


23 See, e.g., Comment No. FTC-2022-0046-7607 at 17-22 (Nat’l Consumer L. Center);

Comment No. FTC-2022-0046-3693 (Nissan salesperson commenting that dealers
“have made the car buying process needlessly confusing, expensive, and frustrating
by engaging in false advertising and hidden add-on products.”); Comment No. FTC-
2022-0046-8919 (member of a “military family” offering details about the “scary
scam” she has faced while car shopping); Comment No. FTC-2022-00046-8062
(State AGs).
24 Comment No. FTC-2022-0046-7607 at iii; see also Comment No. FTC-2022-0046-

7520 at 3, 11, 12, 16, 38 (Consumer Reports and others compiling numerous



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      NADA’s other criticisms of the disclosures are equally meritless.

Contrary to NADA’s suggestion (Br. 31-32), the substance of the Rule’s

required disclosures are not inconsistent with TILA or the CLA. As the

Commission explained in response to comments from NADA and others,

by making the disclosures that the CARS Rule requires, dealers can

comply with those other requirements. 89 Fed. Reg. at 633. NADA does

not challenge this finding, nor does it offer any support for its claim that

customers would be “confused” or that it would be “burdensome” to

make dealers disclose earlier in the process information that they

already must disclose. Contrary to NADA’s assertion, the Rule does not

require any “government-scripted boilerplate” (Br. 32)—it merely

requires that disclosures be made clearly and conspicuously. 89 Fed.

Reg. at 693-94 (§§ 463.2(d), 463.4). The Commission reasonably found

that, far from causing confusion, up-front disclosures would save

consumers time and help protect them from unlawful practices like

hidden fees and bait-and-switch advertising.




consumer complaints, including many that described consumers spending hours at
a dealership trying to ascertain the final price and terms); Comment No. FTC-2022-
0046-1690.


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     NADA is equally misguided in arguing that the misrepresentation

provisions in § 463.3 of the Rule are unnecessary because the FTC Act

already broadly prohibits all unfair or deceptive acts or practices. By

that logic, the FTC would never be able to issue any rules that define

specific conduct as unfair or deceptive. But Congress, in Section 18 and

Dodd-Frank, expressly authorized the Commission to issue rules “which

define with specificity acts or practices which are unfair or deceptive.”

15 U.S.C. § 57a(a)(1)(B); 12 U.S.C. § 5519(d). Congress itself thus

recognized that the FTC Act’s general prohibitions might not be

sufficient to protect the public.

      Furthermore, as the Commission noted, a rule will provide

“additional remedies that will benefit consumers who encounter conduct

that is otherwise already illegal under Federal law” and “aid law-

abiding dealers that lose business to competitors that act unlawfully.”

89 Fed. Reg. at 611. With a rule in place, the Commission can sue

violators under Section 19 of the FTC Act and obtain “such relief as the

court finds necessary to redress injury to consumers or other persons,”

including the refund of money or payment of damages. 15 U.S.C.

§ 57b(a)(1), (b). Additionally, the Commission may obtain monetary



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penalties for violations of the Rule, see 15 U.S.C. § 45(m)(1)(A). These

additional remedies will give teeth to the FTC Act’s general prohibitions

and create incentives for dealer compliance that are lacking under the

existing regime.

III. THE COMMISSION’S COST-BENEFIT ANALYSIS IS NOT JUDICIALLY
     REVIEWABLE, AND NADA’S ARGUMENTS LACK MERIT ANYWAY.

     This Court cannot consider NADA’s attacks on the Commission’s

cost-benefit analysis (Br. 35-47) because it is part of the final regulatory

analysis the Commission prepared under Section 22 of the FTC Act, see

89 Fed. Reg. at 672-93, and Section 22(c) explicitly bars judicial review.

15 U.S.C. § 57b-3(c)(1). Even if judicial review were available, however,

the challenge would fail because NADA has not shown that any aspect

of the Commission’s analysis was arbitrary and capricious or that any

purported errors in the analysis caused harm.

     A.    The Cost-Benefit Analysis Is Not Subject to Judicial
           Review.

     The Commission’s cost-benefit analysis was undertaken pursuant

to Section 22, which requires “an analysis of the projected benefits and

any adverse economic effects and any other effects of the final rule.”

15 U.S.C. § 57b-3(b)(2)(C). As relevant here, Section 22 also provides

that “[t]he contents and adequacy of any regulatory analysis prepared

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or issued by the Commission under this section, including the adequacy

of any procedure involved in such preparation or issuance, shall not be

subject to any judicial review in any court” unless the Commission

“failed entirely to prepare a regulatory analysis.” 15 U.S.C. § 57b-3(c)(1)

(emphasis added). Section 22 further provides that “no Commission

action may be invalidated, remanded, or otherwise affected by any court

on account of any failure to comply with the requirements of this

section.” Id. § 57b-3(c)(2). Here, NADA is challenging “the contents and

adequacy” of the Commission’s cost-benefit analysis—exactly what

Section 22 forbids.

     By its terms, the APA does not apply where “statutes preclude

judicial review.” 5 U.S.C. § 701(A)(1); accord Elldakli v. Garland,

64 F.4th 666, 670 (5th Cir. 2023). This Court has repeatedly applied

that principle and declined to review agency action where Congress said

it could not. E.g., Lundeen v. Mineta, 291 F.3d 300, 310-11 (5th Cir.

2002); Stockman v. FEC, 138 F.3d 144, 156 (5th Cir. 1998); Kirby Corp.

v. Pena, 109 F.3d 258, 261 (5th Cir. 1997). NADA thus misplaces its

reliance on Chamber of Commerce v. SEC, 85 F.4th 760 (5th Cir. 2023).

That case held that as a general matter, an agency action is arbitrary



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and capricious if the agency failed to adequately consider the costs and

benefits of a rule. Id. at 777. But Chamber of Commerce did not involve

a statute like Section 22, which specifically instructs the Commission to

conduct a cost-benefit analysis and expressly bars courts from reviewing

that analysis.

     Since Congress has clearly and explicitly precluded judicial review

of the Commission’s cost-benefit analysis, the Court may not consider

the merits of NADA’s challenge.

     B.    In Any Case, the Commission Properly Assessed the
           Benefits and Costs of the Rule.

     Even if judicial review were available, NADA’s challenges would

fail on the merits. This Court “afford[s] agencies considerable discretion

in conducting the complex economic analysis typical in the regulation

promulgation process.” Huawei Techs. USA, Inc. v. FCC, 2 F.4th 421,

452 (5th Cir. 2021) (cleaned up). The Commission’s findings are amply

supported by evidence and well within the agency’s discretion.




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             1.    The Commission properly estimated benefits.

      The Commission estimated that the Rule’s quantified benefit to

consumers over 10 years would be $13.4 billion. 25 89 Fed. Reg. at 688.

Most of that benefit—$12.3 billion—comes from time savings. As the

Commission explained, “[r]equired disclosures of relevant prices and

prohibitions of misrepresentations, inter alia, would save consumers

time when shopping for a vehicle by requiring the provision of salient,

material information early in the process and eliminating time spent

pursuing misleading offers.” Id. at 674. The other $1.1 billion comes

from a reduction of deadweight loss associated with “search frictions,

shrouded prices, deception, and obfuscation.” Id. at 678, 688.26

      To quantify the time-savings benefits, the Commission used

survey data comparing consumers who perform various activities in the

car-buying process digitally (i.e., online) relative to consumers who went




 25 These figures represent the Commission’s base case using a 7% discount rate.

The Commission also conducted a sensitivity analysis to prepare high and low
estimates and alternative calculations using a 3% discount rate. 89 Fed. Reg. 688;
see also infra n.27 (explaining sensitivity analysis).
 26 The Commission described other time-saving benefits, such as avoiding time

spent on transactions that are abandoned when consumers learn that the initial
price information they received was misleading, but it left those benefits
unquantified. 89 Fed. Reg. at 673-74.


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to dealerships in person. Id. at 676. The Commission explained that

because it “expects the provisions of the Rule to emulate some of the

time-saving features of completing these activities digitally,” it would

use those figures as a baseline to estimate time savings, taking into

account for each activity “how closely the status quo digital shopping

experience is expected to resemble the shopping experience for all

consumers once the Rule is in effect.” Id. The Commission estimated

that the time savings in negotiating a purchase price would be

approximately equal to the time digital consumers save vis-à-vis non-

digital consumers under the status quo, but that the time savings for

selecting add-ons and discussing and signing paperwork would be more

moderate and there would be little or no time savings for obtaining a

trade-in offer. Id. at 676-77. Based on the survey data and these

estimates, the Commission calculated base-case savings of 2.05 hours

per transaction. Id. at 674, 678.

     NADA disagrees with the Commission’s analysis but has not

shown that it was arbitrary and capricious. NADA first argues that the

NPRM’s initial estimate of 3 hours saved per transaction was

unreasonable. Br. 35-36. But the NPRM is not under review here—the



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Final Rule is. The Commission refined its analysis in the Final Rule

after taking into account revisions to the proposed rule, stakeholder

comments, and additional data. The Commission further stress-tested

its revised estimate of 2.05 hours by conducting a sensitivity analysis

that considered savings estimates between 1.02 hours and 3.3 hours per

completed transaction, resulting in total savings to consumers between

$6.1 billion and $19.8 billion with a base case of $12.3 billion. 27 89 Fed.

Reg. at 674, 678.

      NADA next takes issue with the Commission’s comparison of the

time saved by digital versus non-digital consumers in the current

regime as a basis for estimating the Rule’s benefits, incorrectly claiming

that the Commission offered “no support whatsoever” for this approach.

Br. 37. In fact, the Commission explained in detail why its assumptions

were reasonable. For example, the Commission explained that “[f]or

non-digital consumers, it is currently time-consuming to obtain

comparable price quotes from dealerships,” because many dealers “will

not initiate price negotiations in earnest without a competing price


 27 “Sensitivity analysis consists of purposely running a number of alternative

specifications to determine whether particular results are robust….” A.H.
Studenmund, Using Econometrics: A Practical Guide 174 (6th ed. 2017).


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quote in writing, which can only be obtained by visiting a dealership for

the non-digital consumer.” 89 Fed. Reg. at 676. Mandating up-front

offering price disclosures will make the process more like the existing

process for digital consumers, who can obtain price quotes by email

without traveling to multiple dealerships. Id.

     NADA may disagree with the Commission’s methodology, but it

cites no contrary evidence and instead relies solely on rhetoric and

NADA’s own unsupported speculation. In contrast, the Commission’s

estimate is based on facts and data that NADA does not challenge, and

“[b]oth the Supreme Court and [other] court[s] have recognized that

agencies should be given a wide berth when making predictive

judgments … because such predictions are policy-laden, and courts are

not well equipped to second-guess agency estimates.” Bd. of Cnty.

Comm’rs of Washington Cnty. v. United States Dep’t of Transp., 955

F.3d 96, 99 (D.C. Cir. 2020).

     Finally, NADA rehashes the meritless argument that prohibiting

misrepresentations and requiring up front disclosures about pricing will

not actually help consumers. Br. 39-42. The Commission reasonably

concluded otherwise, based on an extensive evidentiary record. NADA’s



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claim that the rule will somehow harm consumers is based on the false

assertion (Br. 39) that the Rule will inject more paperwork into the

process. To be clear, the Rule does not insert a single additional piece of

paperwork into the dealer-consumer transaction. NADA suggests that

the Commission should have conducted additional research or consumer

testing, but it cites nothing to suggest that the APA requires such time-

consuming and expensive studies.

           2.     The Commission properly estimated dealer costs.

     The Commission calculated the total cost of the Rule to dealers—

including the costs of compliance with the three mandatory disclosures,

the prohibition on misrepresentations, and recordkeeping obligations—

at $1.1 billion over 10 years. 89 Fed. Reg. at 688. NADA’s assertion that

the FTC assumed many of these requirements would “impose no

compliance costs at all” (Br. 42) is wrong. Although the Commission

considered scenarios that assumed the misrepresentation prohibition

and offering-price disclosure requirements would impose no additional

costs, its final calculations were based on scenarios that assumed that

dealers would incur additional costs to ensure compliance. 89 Fed. Reg.

at 682-83, 688.



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      NADA doubly errs in claiming that the Commission’s assessment

of dealer costs suffers from a miscalculation of the reduction in

deadweight loss resulting from the Rule. Br. 43-45. First, reduction in

deadweight loss is not a cost to dealers at all. It is a benefit to society,

and the Commission therefore included it in the Commission’s

discussion of benefits. 89 Fed. Reg. at 678-81. Second, while NADA

argues that some portion of dealers’ compliance costs will be passed

along to consumers in the form of increased prices (Br. 44), it points to

no evidence supporting that assertion. Indeed, the Commission found

that “based on the academic literature on search costs in the automobile

market, the Rule is expected to reduce prices of new vehicles by

reducing the markup that dealers are able to charge over marginal

costs.” 89 Fed. Reg. at 680 (emphasis added).28

      In any event, the reduction in deadweight loss accounts for only

$1.1 billion of the total $13.4 billion in quantified benefits to consumers

that the Commission calculated. Even if that number were zero, there




 28 In discussing the consumer time-savings benefit, the Commission assumed that

the number of vehicle transactions would be stable at 2019 levels. 89 Fed. Reg. at
677. NADA misconstrues this as a statement about vehicle pricing. Br. 44. As noted
above, the Commission found that the Rule would reduce vehicle prices.


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would still be $12.3 billion in consumer benefits, which dwarfs the $1.1

billion in dealer costs. Any error in the deadweight loss analysis is

therefore harmless.

     NADA next attacks the Commission’s cost estimate for the

offering-price disclosure requirement. Br. 45-47. The Commission

estimated that this requirement could impose $46 million in upfront

compliance costs based on the time necessary to review policies and

procedures for determining public-facing prices and to update any

automated systems that need to be updated. 89 Fed. Reg. at 683, 688.

The Commission assumed that any additional time “required to deliver

the disclosures is … negligible, as prices are already typically disclosed

in advertisements and in interactions with consumers under the status

quo.” Id. at 682-83.

     NADA argues that the Commission’s analysis fails to take into

account that dealers need to update prices frequently in response to

market conditions. Br. 46. But that is not a cost imposed by the Rule

because dealers already update prices as part of their normal business.

As the Commission explained, “the Rule just requires the price to

conform to a specific definition.” 89 Fed. Reg at 683. NADA does not



                                    63
dispute that dealers already spend time to disclose prices to consumers,

and it offers no support for its argument that the Rule will somehow

add time to these discussions—just a vague assertion that “the stakes

… are far higher under the Rule.” Br. 46-47. But the Commission’s

analysis explicitly priced in those higher stakes, 89 Fed. Reg. at 682-83.

As noted above, the Commission also performed a sensitivity analysis,

which showed that the end result would not change even if the

Commission’s assumptions were off by an order of magnitude.

     NADA’s complaints about the costs imposed by the total-payments

disclosure are similarly off-base. The Commission’s final analysis

assumed that dealers would incur “a onetime, upfront cost of both

designing the required disclosures and informing associates of their

obligations to provide the disclosures” plus “an additional ongoing cost

per financed or leased transaction in order to communicate the required

disclosures to consumers in writing.” Id. at 683-84. This is the scenario

NADA urged the Commission to consider in its comments. See

Comment No. FTC-2022-0046-8368 attach. 19 at 9 (“[T]he FTC’s second

scenario should be the only one considered.”). NADA’s comments also

argued that the Commission’s estimates of ongoing costs were “too low



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in that they fail to account for disclosures being provided multiple times

as terms change.” Id. NADA now reiterates this argument and asserts

that the Commission did not adequately respond. 29 Br. 47. But the

Commission expressly acknowledged the comment and explained that

“[c]oncerns about underestimates of the time required to review

disclosures on a per-transaction basis are addressed by the

Commission’s sensitivity analyses,” which addressed how changes in

the assumptions would affect the results. 89 Fed. Reg. at 684, 689-93.

NADA did not provide any alternative cost estimates, and it has not

shown why the sensitivity analysis does not address its vague assertion

that the parameters the Commission used were too low.

            3.    NADA has not shown that any error in the cost-
                  benefit analysis affected the end result.

      Even if NADA could identify some error in an individual

component of the calculation, it has not met its burden of showing that

any such error was not harmless. The Commission’s analysis showed a

vast disparity between the benefits to consumers ($13.4 billion over 10




 29 NADA also argues that the Commission’s analysis fails to account for

“disclosures preceding abandoned transactions” (Br. 47), but NADA did not make
that argument in its comments and cannot raise it now. See also supra n.26.


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years) and the costs to dealers (only $1.1 billion over the same period),

and as a result, even major adjustments to individual components are

unlikely to affect the ultimate conclusion that the Rule’s benefits

outweigh the costs. 89 Fed. Reg. at 688. Furthermore, as noted above,

the Commission conducted a sensitivity analysis to test how variations

in the parameters used might affect the bottom line. That analysis

simulated 1,000 possible scenarios and found “positive net benefits in

all simulated outcomes.” Id. at 691-92. NADA has not identified any

flaw in this analysis or otherwise explained how the purported errors in

the Commission’s analysis could possibly have affected the net result.

           4.    There is no basis for a remand.

     As a final throwaway argument, NADA asks the Court to remand

the Rule to the Commission for further consideration of costs and

benefits. As noted above, Section 22 not only precludes judicial review of

the cost-benefit analysis, it also expressly precludes any remand on that

issue. See 15 U.S.C. § 57b-3(c)(2). Regardless, NADA has not shown any

legitimate need for a remand. NADA argues that if the case were

remanded, it would submit “a comprehensive study” prepared by the

Center for Automotive Research purportedly estimating the costs of



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implementing the Rule as originally proposed. Br. 48. Although this

study was not completed until after the comment period closed, the

Commission nonetheless received the study and discussed it in the

Final Rule. 89 Fed. Reg. at 613 n.185, 675 n.535, 677 n.550.

     The Commission found that the study had “numerous

methodological shortcomings rendering its results unreliable.” Id. at

675 n.535. In particular, it included leading statements, was based on a

sample of only 60 dealers out of more than 46,000 nationwide, and gave

no explanation as to how the dealers were chosen; moreover, only 40

dealers completed responses to many key questions. Id. Additionally,

many of the costs discussed related to provisions dropped from the Final

Rule. NADA does not challenge these findings and has shown no basis

for a remand to consider this study or any other evidence relating to

costs and benefits (even if remand were permissible).

                            CONCLUSION

     The petition for review should be denied.




                                   67
               Respectfully submitted,

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               CERTIFICATE OF COMPLIANCE

     I certify that the foregoing brief complies with the volume

limitations of Fed. R. App. P. 32(a)(7)(B) because it contains 12,950

words, excluding the parts of the brief exempted by Fed. R. App. P.

32(a)(7)(B)(iii), and that it complies with the typeface and type

style requirements of Fed. R. App. P. 32(a)(5) and (a)(6) and 5th

Cir. R. 32.1 because it was prepared in a proportionally spaced

typeface using Microsoft® Word. The body text is in 14-point

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Schoolbook type.


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             ADDENDUM OF RELEVANT STATUTES
                   AND REGULATIONS



Dodd-Frank Wall Street Reform and Consumer Protection Act

     Section 1029, 12 U.S.C. § 5519 .............................................. A2

Federal Trade Commission Act

     Section 5, 15 U.S.C. § 45 ........................................................ A4

     Section 18, 15 U.S.C. § 57a .................................................... A5

     Section 22, 15 U.S.C. § 57b-3 ............................................... A13

FTC Rules of Practice

     16 C.F.R. § 1.7 ....................................................................... A16

     16 C.F.R. § 1.10 ..................................................................... A17

     16 C.F.R. § 1.21 ..................................................................... A18




                                            A1
12 U.S.C. § 5519. Exclusion for auto dealers

(a) Sale, servicing, and leasing of motor vehicles excluded

     Except as permitted in subsection (b), the Bureau may not
     exercise any rulemaking, supervisory, enforcement or any other
     authority, including any authority to order assessments, over a
     motor vehicle dealer that is predominantly engaged in the sale
     and servicing of motor vehicles, the leasing and servicing of
     motor vehicles, or both.

                                     ***

(d) Federal Trade Commission authority

     Notwithstanding section 57a of title 15 [section 18 of the FTC
     Act], the Federal Trade Commission is authorized to prescribe
     rules under sections 45 and 57a(a)(1)(B) of title 15 [sections 5
     and 18(a)(1)(B) of the FTC Act]. 1 in accordance with section 553
     of title 5, with respect to a person described in subsection (a).

(e) Coordination with Office of Service Member Affairs

     The Board of Governors and the Federal Trade Commission
     shall coordinate with the Office of Service Member Affairs, to
     ensure that—

        (1) service members and their families are educated and
     empowered to make better informed decisions regarding
     consumer financial products and services offered by motor
     vehicle dealers, with a focus on motor vehicle dealers in the
     proximity of military installations; and

        (2) complaints by service members and their families
     concerning such motor vehicle dealers are effectively monitored



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and responded to, and where appropriate, enforcement action is
pursued by the authorized agencies.

                            ***




                            A3
15 U.S.C. § 45 [Section 5 of the FTC Act]. Unfair methods of
competition unlawful; prevention by Commission
(a) Declaration of unlawfulness; power to prohibit unfair
practices; inapplicability to foreign trade
(1) Unfair methods of competition in or affecting commerce, and
unfair or deceptive acts or practices in or affecting commerce, are
hereby declared unlawful.
(2) The Commission is hereby empowered and directed to prevent
persons, partnerships, or corporations, except banks, savings and
loan institutions described in section 57a(f)(3) of this title [section
18(f)(3) of the FTC Act], Federal credit unions described in section
57a(f)(4) of this title [section 18(f)(4) of the FTC Act], common
carriers subject to the Acts to regulate commerce, air carriers and
foreign air carriers subject to part A of subtitle VII of title 49, and
persons, partnerships, or corporations insofar as they are subject to
the Packers and Stockyards Act, 1921, as amended [7 U.S.C. 181 et
seq.], 2 except as provided in section 406(b) of said Act [7 U.S.C.
227(b)],3 from using unfair methods of competition in or affecting
commerce and unfair or deceptive acts or practices in or affecting
commerce.
                                 ***




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     Brackets in original.

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15 U.S.C. § 57a [Section 18 of the FTC Act]. Unfair or
deceptive acts or practices rulemaking proceedings

(a) Authority of Commission to prescribe rules and general
    statements of policy

     (1) Except as provided in subsection (h), the Commission may
  prescribe—

        (A) interpretive rules and general statements of policy
     with respect to unfair or deceptive acts or practices in or
     affecting commerce (within the meaning of section 45(a)(1) of
     this title [section 5(a)(1) of the FTC Act]), and

        (B) rules which define with specificity acts or practices
     which are unfair or deceptive acts or practices in or affecting
     commerce (within the meaning of section 45(a)(1) of this title
     [section 5(a)(1) of the FTC Act]), except that the Commission
     shall not develop or promulgate any trade rule or regulation
     with regard to the regulation of the development and
     utilization of the standards and certification activities
     pursuant to this section. Rules under this subparagraph may
     include requirements prescribed for the purpose of preventing
     such acts or practices.

     (2) The Commission shall have no authority under this
  subchapter, other than its authority under this section, to
  prescribe any rule with respect to unfair or deceptive acts or
  practices in or affecting commerce (within the meaning of
  section 45(a)(1) of this title [section 5(a)(1) of the FTC Act]). The
  preceding sentence shall not affect any authority of the
  Commission to prescribe rules (including interpretive rules), and
  general statements of policy, with respect to unfair methods of
  competition in or affecting commerce.

(b) Procedures applicable

     (1) When prescribing a rule under subsection (a)(1)(B) of this
  section, the Commission shall proceed in accordance with
  section 553 of title 5 (without regard to any reference in such
                                 A5
section to sections 556 and 557 of such title), and shall also (A)
publish a notice of proposed rulemaking stating with
particularity the text of the rule, including any alternatives,
which the Commission proposes to promulgate, and the reason
for the proposed rule; (B) allow interested persons to submit
written data, views, and arguments, and make all such
submissions publicly available; (C) provide an opportunity for an
informal hearing in accordance with subsection (c); and (D)
promulgate, if appropriate, a final rule based on the matter in
the rulemaking record (as defined in subsection (e)(1)(B)),
together with a statement of basis and purpose.

   (2)(A) Prior to the publication of any notice of proposed
rulemaking pursuant to paragraph (1)(A), the Commission shall
publish an advance notice of proposed rulemaking in the Federal
Register. Such advance notice shall—

     (i) contain a brief description of the area of inquiry under
  consideration, the objectives which the Commission seeks to
  achieve, and possible regulatory alternatives under
  consideration by the Commission; and

     (ii) invite the response of interested parties with respect to
  such proposed rulemaking, including any suggestions or
  alternative methods for achieving such objectives.

   (B) The Commission shall submit such advance notice of
proposed rulemaking to the Committee on Commerce, Science,
and Transportation of the Senate and to the Committee on
Energy and Commerce of the House of Representatives. The
Commission may use such additional mechanisms as the
Commission considers useful to obtain suggestions regarding the
content of the area of inquiry before the publication of a general
notice of proposed rulemaking under paragraph (1)(A).

  (C) The Commission shall, 30 days before the publication of a
notice of proposed rulemaking pursuant to paragraph (1)(A),
submit such notice to the Committee on Commerce, Science, and


                              A6
  Transportation of the Senate and to the Committee on Energy
  and Commerce of the House of Representatives.

     (3) The Commission shall issue a notice of proposed
  rulemaking pursuant to paragraph (1)(A) only where it has
  reason to believe that the unfair or deceptive acts or practices
  which are the subject of the proposed rulemaking are prevalent.
  The Commission shall make a determination that unfair or
  deceptive acts or practices are prevalent under this paragraph
  only if—

        (A) it has issued cease and desist orders regarding such
     acts or practices, or

        (B) any other information available to the Commission
     indicates a widespread pattern of unfair or deceptive acts or
     practices.

(c) Informal hearing procedure

   The Commission shall conduct any informal hearings required
by subsection (b)(1)(C) of this section in accordance with the
following procedure:

   (1)(A) The Commission shall provide for the conduct of
proceedings under this subsection by hearing officers who shall
perform their functions in accordance with the requirements of this
subsection.

   (B) The officer who presides over the rulemaking proceedings
shall be responsible to a chief presiding officer who shall not be
responsible to any other officer or employee of the Commission. The
officer who presides over the rulemaking proceeding shall make a
recommended decision based upon the findings and conclusions of
such officer as to all relevant and material evidence, except that
such recommended decision may be made by another officer if the
officer who presided over the proceeding is no longer available to
the Commission.



                                A7
  (C) Except as required for the disposition of ex parte matters as
authorized by law, no presiding officer shall consult any person or
party with respect to any fact in issue unless such officer gives
notice and opportunity for all parties to participate.

  (2) Subject to paragraph (3) of this subsection, an interested
person is entitled—

    (A) to present his position orally or by documentary
submission (or both), and

       (B) if the Commission determines that there are disputed
issues of material fact it is necessary to resolve, to present such
rebuttal submissions and to conduct (or have conducted under
paragraph (3)(B)) such cross-examination of persons as the
Commission determines (i) to be appropriate, and (ii) to be required
for a full and true disclosure with respect to such issues.

   (3) The Commission may prescribe such rules and make such
rulings concerning proceedings in such hearings as may tend to
avoid unnecessary costs or delay. Such rules or rulings may include
(A) imposition of reasonable time limits on each interested person’s
oral presentations, and (B) requirements that any cross-
examination to which a person may be entitled under paragraph
(2) be conducted by the Commission on behalf of that person in
such manner as the Commission determines (i) to be appropriate,
and (ii) to be required for a full and true disclosure with respect to
disputed issues of material fact.

   (4)(A) Except as provided in subparagraph (B), if a group of
persons each of whom under paragraphs (2) and (3) would be
entitled to conduct (or have conducted) cross-examination and who
are determined by the Commission to have the same or similar
interests in the proceeding cannot agree upon a single
representative of such interests for purposes of cross-examination,
the Commission may make rules and rulings (i) limiting the
representation of such interest, for such purposes, and (ii)
governing the manner in which such cross-examination shall be
limited.

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   (B) When any person who is a member of a group with respect to
which the Commission has made a determination under
subparagraph (A) is unable to agree upon group representation
with the other members of the group, then such person shall not be
denied under the authority of subparagraph (A) the opportunity to
conduct (or have conducted) cross-examination as to issues
affecting his particular interests if (i) he satisfies the Commission
that he has made a reasonable and good faith effort to reach
agreement upon group representation with the other members of
the group and (ii) the Commission determines that there are
substantial and relevant issues which are not adequately presented
by the group representative.

   (5) A verbatim transcript shall be taken of any oral
presentation, and cross-examination, in an informal hearing to
which this subsection applies. Such transcript shall be available to
the public.

   (d) Statement of basis and purpose accompanying rule;
‘‘Commission’’ defined; judicial review of amendment or
repeal of rule; violation of rule

   (1) The Commission’s statement of basis and purpose to
accompany a rule promulgated under subsection (a)(1)(B) shall
include (A) a statement as to the prevalence of the acts or practices
treated by the rule; (B) a statement as to the manner and context
in which such acts or practices are unfair or deceptive; and (C) a
statement as to the economic effect of the rule, taking into account
the effect on small business and consumers.

  (2)(A) The term ‘‘Commission’’ as used in this subsection and
subsections (b) and (c) includes any person authorized to act in
behalf of the Commission in any part of the rulemaking proceeding.

   (B) A substantive amendment to, or repeal of, a rule
promulgated under subsection (a)(1)(B) shall be prescribed, and
subject to judicial review, in the same manner as a rule prescribed
under such subsection. An exemption under subsection (g) shall not
be treated as an amendment or repeal of a rule.

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   (3) When any rule under subsection (a)(1)(B) takes effect a
subsequent violation thereof shall constitute an unfair or deceptive
act or practice in violation of section 45(a)(1) of this title [section
5(a)(1) of the FTC Act], unless the Commission otherwise expressly
provides in such rule.

(e) Judicial review; petition; jurisdiction and venue;
    rulemaking record; additional submissions and
    presentations; scope of review and relief; review

    (1)(A) Not later than 60 days after a rule is promulgated under
subsection (a)(1)(B) by the Commission, any interested person
(including a consumer or consumer organization) may file a
petition, in the United States Court of Appeals for the District of
Columbia circuit or for the circuit in which such person resides or
has his principal place of business, for judicial review of such rule.
Copies of the petition shall be forthwith transmitted by the clerk of
the court to the Commission or other officer designated by it for
that purpose. The provisions of section 2112 of title 28 shall apply
to the filing of the rulemaking record of proceedings on which the
Commission based its rule and to the transfer of proceedings in the
courts of appeals.

   (B) For purposes of this section, the term ‘‘rulemaking record’’
means the rule, its statement of basis and purpose, the transcript
required by subsection (c)(5), any written submissions, and any
other information which the Commission considers relevant to such
rule.

   (2) If the petitioner or the Commission applies to the court for
leave to make additional oral submissions or written presentations
and shows to the satisfaction of the court that such submissions
and presentations would be material and that there were
reasonable grounds for the submissions and failure to make such
submissions and presentations in the proceeding before the
Commission, the court may order the Commission to provide
additional opportunity to make such submissions and
presentations. The Commission may modify or set aside its rule or
make a new rule by reason of the additional submissions and

                                 A10
presentations and shall file such modified or new rule, and the
rule’s statement of basis of 4 purpose, with the return of such
submissions and presentations. The court shall thereafter review
such new or modified rule.

    (3) Upon the filing of the petition under paragraph (1) of this
subsection, the court shall have jurisdiction to review the rule in
accordance with chapter 7 of title 5 and to grant appropriate relief,
including interim relief, as provided in such chapter. The court
shall hold unlawful and set aside the rule on any ground specified
in subparagraphs (A), (B), (C), or (D) of section 706(2) of title 5
(taking due account of the rule of prejudicial error), or if—

        (A) the court finds that the Commission’s action is not
     supported by substantial evidence in the rulemaking record (as
     defined in paragraph (1)(B) of this subsection) taken as a whole,
     or

        (B) the court finds that—

          (i) a Commission determination under subsection (c) that
        the petitioner is not entitled to conduct cross-examination or
        make rebuttal submissions, or

          (ii) a Commission rule or ruling under subsection (c)
        limiting the petitioner’s cross-examination or rebuttal
        submissions,

     has precluded disclosure of disputed material facts which was
     necessary for fair determination by the Commission of the
     rulemaking proceeding taken as a whole.

The term ‘‘evidence’’, as used in this paragraph, means any matter
in the rulemaking record.

     (4) The judgment of the court affirming or setting aside, in
whole or in part, any such rule shall be final, subject to review by


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the Supreme Court of the United States upon certiorari or
certification, as provided in section 1254 of title 28.

     (5)(A) Remedies under the preceding paragraphs of this
subsection are in addition to and not in lieu of any other remedies
provided by law.

      (B) The United States Courts of Appeal shall have exclusive
jurisdiction of any action to obtain judicial review (other than in an
enforcement proceeding) of a rule prescribed under subsection
(a)(1)(B), if any district court of the United States would have had
jurisdiction of such action but for this subparagraph. Any such
action shall be brought in the United States Court of Appeals for
the District of Columbia circuit, or for any circuit which includes a
judicial district in which the action could have been brought but for
this subparagraph.

      (C) A determination, rule, or ruling of the Commission
described in paragraph (3)(B)(i) or (ii) may be reviewed only in a
proceeding under this subsection and only in accordance with
paragraph (3)(B). Section 706(2)(E) of title 5 shall not apply to any
rule promulgated under subsection (a)(1)(B). The contents and
adequacy of any statement required by subsection (b)(1)(D) shall
not be subject to judicial review in any respect.

                                ***




                                 A12
15 U.S.C. § 57b-3 [Section 22 of the FTC Act]. Rulemaking
process

                                ***

(b) Notice of proposed rulemaking; regulatory analysis;
contents; issuance

     (1) In any case in which the Commission publishes notice of a
proposed rulemaking, the Commission shall issue a preliminary
regulatory analysis relating to the proposed rule involved. Each
preliminary regulatory analysis shall contain—

           (A) a concise statement of the need for, and the
     objectives of, the proposed rule;

           (B) a description of any reasonable alternatives to the
     proposed rule which may accomplish the stated objective of
     the rule in a manner consistent with applicable law; and

           (C) for the proposed rule, and for each of the
     alternatives described in the analysis, a preliminary analysis
     of the projected benefits and any adverse economic effects and
     any other effects, and of the effectiveness of the proposed rule
     and each alternative in meeting the stated objectives of the
     proposed rule.

      (2) In any case in which the Commission promulgates a final
rule, the Commission shall issue a final regulatory analysis
relating to the final rule. Each final regulatory analysis shall
contain—

           (A) a concise statement of the need for, and the
     objectives of, the final rule;

          (B) a description of any alternatives to the final rule
     which were considered by the Commission;

          (C) an analysis of the projected benefits and any adverse
     economic effects and any other effects of the final rule;


                                A13
           (D) an explanation of the reasons for the determination
     of the Commission that the final rule will attain its objectives
     in a manner consistent with applicable law and the reasons
     the particular alternative was chosen; and

          (E) a summary of any significant issues raised by the
     comments submitted during the public comment period in
     response to the preliminary regulatory analysis, and a
     summary of the assessment by the Commission of such
     issues.

      (3)(A) In order to avoid duplication or waste, the Commission
is authorized to—

       (i) consider a series of closely related rules as one rule for
     purposes of this subsection; and

       (ii) whenever appropriate, incorporate any data or analysis
     contained in a regulatory analysis issued under this
     subsection in the statement of basis and purpose to
     accompany any rule promulgated under section 57a(a)(1)(B)
     [section 18(a)(1)(B)] of this title, and incorporate by reference
     in any preliminary or final regulatory analysis information
     contained in a notice of proposed rulemaking or a statement
     of basis and purpose.

      (B) The Commission shall include, in each notice of proposed
rulemaking and in each publication of a final rule, a statement of
the manner in which the public may obtain copies of the
preliminary and final regulatory analyses. The Commission may
charge a reasonable fee for the copying and mailing of regulatory
analyses. The regulatory analyses shall be furnished without
charge or at a reduced charge if the Commission determines that
waiver or reduction of the fee is in the public interest because
furnishing the information primarily benefits the general public.

     (4) The Commission is authorized to delay the completion of
any of the requirements established in this subsection by
publishing in the Federal Register, not later than the date of
publication of the final rule involved, a finding that the final rule is
                                  A14
being promulgated in response to an emergency which makes
timely compliance with the provisions of this subsection
impracticable. Such publication shall include a statement of the
reasons for such finding.

      (5) The requirements of this subsection shall not be construed
to alter in any manner the substantive standards applicable to any
action by the Commission, or the procedural standards otherwise
applicable to such action.

(c) Judicial review

      (1) The contents and adequacy of any regulatory analysis
prepared or issued by the Commission under this section, including
the adequacy of any procedure involved in such preparation or
issuance, shall not be subject to any judicial review in any court,
except that a court, upon review of a rule pursuant to section
57a(e) of this title, may set aside such rule if the Commission has
failed entirely to prepare a regulatory analysis.

      (2) Except as specified in paragraph (1), no Commission
action may be invalidated, remanded, or otherwise affected by any
court on account of any failure to comply with the requirements of
this section.

      (3) The provisions of this subsection do not alter the
substantive or procedural standards otherwise applicable to
judicial review of any action by the Commission.

                               ***




                                A15
16 C.F.R. § 1.7 Scope of rules in this subpart.

      The rules in this subpart apply to and govern proceedings for
the promulgation of rules as provided in section 18(a)(1)(B) of the
Federal Trade Commission Act (15 U.S.C. 57a(a)(1)(B)). Such rules
will be known as trade regulation rules. All other rulemaking
proceedings will be governed by the rules in subpart C of this part,
except as otherwise required by law or as otherwise specified in
this chapter.




                                A16
16 C.F.R. § 1.10 Advance notice of proposed rulemaking.

     (a) Prior to the commencement of any trade regulation rule
proceeding, the Commission shall publish in the FEDERAL
REGISTER an advance notice of such proposed proceeding.

     (b) The advance notice shall:

     (1) Contain a brief description of the area of inquiry under
consideration, the objectives which the Commission seeks to
achieve, and possible regulatory alternatives under consideration
by the Commission; and

      (2) Invite the response of interested persons with respect to
such proposed rulemaking, including any suggestions or
alternative methods for achieving such objectives.

     (c) The advance notice shall be submitted to the Committee
on Commerce, Science, and Transportation of the Senate and to the
Committee on Interstate and Foreign Commerce of the House of
Representatives.

     (d) The Commission may, in addition to publication of the
advance notice, use such additional mechanisms as it considers
useful to obtain suggestions regarding the content of the area of
inquiry before publication of an initial notice of proposed
rulemaking pursuant to § 1.11.




                                A17
16 C.F.R. § 1.21 Scope of the rules in this subpart.

This subpart sets forth procedures for the promulgation of rules
under authority other than section 18(a)(1)(B) of the FTC Act
except as otherwise required by law or otherwise specified in the
rules of this chapter. This subpart does not apply to the
promulgation of industry guides, general statements of policy, rules
of agency organization, procedure, or practice, or rules governed by
subpart B of this part.




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